Case 1:15-mj-0O0800-JMC Document1 Filed 04/20/15 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v. CRIMINAL COMPLAINT

BHADRESHKUMAR C. PATEL Case Number: 15-0809 JMC

1, the undersigned complainant, being duly sworn state the following is true and correct to
the best of my knowledge and belief,

On or about 4/13/2015, in Hanover, Maryland, in the District of Maryland, defendant
BHADRESHKUMAR C. PATEL did knowingly, willfully, and unlawfully move and travel in
interstate commerce from the State of Maryland to avoid custody and confinement for the crime of
MURDER, a felony within the State of Maryland, in violation of Title 18 United States Code,
Section 1073.

I further state that | am a Special Agent of the FBI, and that this complaint is based on the
following facts:

SEE AFFIDAVIT WHICH IS ATTACHED HERETO & INCORPORATED HEREIN BY

REFERENCE
Jonathan D. Shaffer, Spel Agent
Federal Bureau of Investigation

Sworn to before me and subscribed in my presence,
this QE day of Appl . at Baltimore, Maryland

2 ( \ TERED
J. rk. Coulson” a een FED —— iM
Unfited States Magistrate Judge 10d
ce APR 20 2015
e fo aATaa. .
us rn Fount wens

ot a
r bo. ak ‘ w
